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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

ACUITY, A MUTUAL INSURANCE                        )
COMPANY,                                          )
                                                  )
           Plaintiff,                             )
                                                  )
     vs.                                          )         Case No. 4:24-cv-01277-MTS
                                                  )
RIVERDALE PACKAGING                               )
CORPORATION, et al.,                              )
                                                  )
           Defendants.                            )

              CASE MANAGEMENT ORDER – TRACK 2: STANDARD

       Pursuant to the Civil Justice Reform Act Expense and Delay Reduction Plan, the
Differentiated Case Management Program of the United States District Court for the
Eastern District of Missouri, and the Joint Proposed Scheduling Plan, Doc. [43],

      IT IS HEREBY ORDERED that the following schedule shall apply in this case
and will be modified only upon motion and a showing of good cause:

I.    Scheduling Plan

      1.        This case is assigned to Track 2 (Standard).

      2.        The parties shall make all initial disclosures required by Federal Rule of Civil
                Procedure 26(a)(1) no later than January 28, 2025.

      3.        All motions for joinder of additional parties or to file amended pleadings
                must be filed no later than April 04, 2025.

      4.        Discovery shall proceed in a bifurcated manner as follows:

                        (a)    Discovery during phase one shall concern communications with
                               Serve-Pro, communications between Acuity and Riverdale
                               Property Corporations and/or Lora Property Investments, an
                               inspection of the Gustine property, and a deposition of the lead
                               adjuster on the file. Phase one discovery shall conclude no later
                               than May 30, 2025.

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                  (b)   Phase two of discovery will begin on June 02, 2025. Any
                        additional discovery related to Defendant Wombat Acquisitions
                        LLC’s vexatious refusal claim shall take place in phase two of
                        discovery.

                          (i).    Plaintiff shall designate all expert witnesses and
                                  provide the reports required by Federal Rule of
                                  Civil Procedure 26(a)(2) no later than June 02,
                                  2025, and shall make the expert witnesses
                                  available for deposition, and have the
                                  depositions completed, no later than July 01,
                                  2025.

                          (ii).   Defendant shall designate all expert witnesses
                                  and provide the reports required by Federal Rule
                                  of Civil Procedure 26(a)(2) no later than July 21,
                                  2025, and shall make the expert witnesses
                                  available for depositions, and have the
                                  depositions completed, no later than August 25,
                                  2025.

                  (c)   Absent good cause shown, a party may serve on any other party
                        no more than twenty-five (25) written interrogatories. Fed. R.
                        Civ. P. 33(a)(1). Absent good cause shown, the parties are
                        limited to ten (10) depositions per side. See Fed. R. Civ. P.
                        30(a)(2)(A).

                  (d)   The parties do not anticipate any requests for physical or mental
                        examinations pursuant to Federal Rule of Civil Procedure 35.

                  (e)   The parties shall complete all discovery no later than August 29,
                        2025.

                  (f)   If any discovery dispute arises, the parties shall raise the dispute
                        in a diligent and timely manner. Absent a showing of excusable
                        neglect, no discovery dispute may be raised with the Court after
                        September 05, 2025.

                          (i).    Before raising any discovery dispute with the
                                  Court, counsel must confer in person or by
                                  telephone with opposing counsel in good faith or
                                  make reasonable efforts to do so.

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                             (ii).   If after sincere efforts to resolve their dispute,
                                     counsel are unable to reach an accord, the
                                     moving party must request an informal
                                     conference with the Court before moving for any
                                     Order relating to discovery. *

         5.    This case will be referred to alternative dispute resolution on March 31,
               2025. That referral shall terminate on May 30, 2025. The parties must
               comply with all Local Rules governing ADR. See E.D. Mo. L.R. 6.01–6.05.

         6.    Any dispositive motions or motions to exclude testimony pursuant to
               Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), or
               Kuhmo Tire Co. Ltd. v. Carmichael, 526 U.S. 137 (1999), must be filed no
               later than September 19, 2025.

                      (a)   Local Rule 4.01 governs response times for all motions unless
                            otherwise provided by Order of the Court.

                      (b)   Any memoranda in support or opposition to any motion filed
                            under this paragraph must contain a table of contents and a table
                            of authorities.

II.      Order Relating to Trial

       This action is set for a JURY trial on April 06, 2026, at 9:00 a.m. in Courtroom
Sixteen South (16-S). This is a two-week docket. A final pre-trial conference will be set
in this matter by further Order of the Court. It typically will be set for the week
immediately preceding trial.

         1.    Joint Stipulation: No later than seven (7) days prior to the final pre-trial
               conference, the parties must file a joint stipulation of all uncontested facts,
               which may be read into evidence subject to any objections of any party set
               forth in said stipulation. This joint stipulation must include a brief summary
               of the case that the Court will read to the venire before voir dire.

         2.    Witnesses:

                      (a)   No later than twenty-one (21) days prior to the pre-trial
                            conference, deliver to the opposing party, and file with the Clerk
                            of Court, a list of all proposed witnesses, identifying those

*
    Parties may email: MOEDml_Schelp_Law_Clerks@moed.uscourts.gov.
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                        witnesses who will be called to testify and those who may be
                        called to testify.

                  (b)   Except for good cause shown, no party will be permitted to call
                        any witnesses not listed in compliance with this Order. Any
                        objections not made in writing at least ten (10) days prior to the
                        pre-trial conference may be considered waived.

      3.    Exhibits:

                  (a)   No later than twenty-one (21) days prior to the pre-trial
                        conference, mark for identification all exhibits to be offered in
                        evidence at the trial (Plaintiffs to use Arabic numerals and
                        Defendants to use letters, e.g., Pltf-1, Deft-A, or Pltf Jones-1,
                        Deft Smith-A, if there is more than one plaintiff or defendant),
                        and deliver to the opposing party and file with the Clerk a list of
                        such exhibits, identifying those that will be introduced into
                        evidence and those that may be introduced. The list shall clearly
                        indicate for each business record whether the proponent seeks to
                        authenticate the business record by affidavit or declaration
                        pursuant to Federal Rule of Evidence 902(11) or 902(12).

                  (b)   No later than fourteen (14) days prior to the pre-trial conference,
                        submit said exhibits or true copies thereof, and copies of all
                        affidavits or declarations pursuant to Federal Rule of Evidence
                        902(11) or 902(12), to the opposing party for examination. Prior
                        to trial, the parties shall stipulate which exhibits may be
                        introduced without objection or preliminary identification and
                        shall file written objections to all other exhibits.

                  (c)   Except for good cause shown, no party will be permitted to offer
                        any exhibits not identified or not submitted by said party for
                        examination by the opposing party in compliance with this
                        Order. Any objections not made in writing no later than ten (10)
                        days prior to the pre-trial conference may be considered waived.

      4.    Depositions, Interrogatory Answers, and Requests for Admission:

                  (a)   No later than twenty-one (21) days prior to the pre-trial
                        conference, deliver to the opposing party and file with the Clerk
                        a list of all interrogatory answers or parts thereof and depositions
                        or parts thereof (identified by page and line numbers), and
                        answers to requests for admissions proposed to be offered in

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                         evidence. No later than ten (10) days prior to the pre-trial
                         conference, the opposing party shall state in writing any
                         objections to such testimony and shall identify any additional
                         portions of such depositions not listed by the offering party that
                         the opposing party proposes to offer.

                           (i).   The use of any deposition testimony at
                                  trial must comply with Federal Rule of
                                  Civil Procedure 32.

                   (b)   Except for good cause shown, no party will be permitted to offer
                         any interrogatory answer, or deposition or part thereof, or answer
                         to a request for admissions not listed in compliance with this
                         Order. Any objections not made as above required may be
                         considered waived.

      5.    Motions in Limine: File all motions in limine no later than fourteen (14)
            days prior to the pre-trial conference. Responses or objections to any motion
            in limine must be filed no later than seven (7) days prior to the pre-trial
            conference. Any response or objection not made as required above may be
            considered waived. All motions in limine should be submitted in one
            document and each motion should be numbered (e.g., Plaintiff’s Motion in
            Limine No. 1).

      6.    Jury Instructions:

                   (a)   The parties must meet and confer in an effort to resolve any
                         dispute involving jury instructions. Lead counsel must
                         personally speak before submitting any jury instructions over
                         which a dispute remains.

                   (b)   The parties must jointly submit the jury instructions upon which
                         they have agreed no later than seven (7) days prior to the final
                         pre-trial conference.

                   (c)   For the jury instructions that remain in dispute, no later than
                         seven (7) days prior to the final pre-trial conference, the parties
                         must separately submit proposed versions of disputed jury
                         instructions.

                   (d)   Every proposed jury instruction must be accompanied by a
                         citation to a governing model jury instruction if one is available.
                         Where no governing model jury instruction is available, the

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                          provided jury instruction must be accompanied by at least one
                          citation to other appropriate legal authority.


       7.     Trial Brief: No later than seven (7) days prior to the start of trial, submit to
              the Court and the opposing party a trial brief stating the legal and factual
              issues and authorities on which the parties rely and discussing any anticipated
              substantive or procedural problems.

                                            ***

       The failure to comply with any part of this Order may result in the imposition of

sanctions. See Fed. R. Civ. P. 16(f).

       Dated this 24th day of January 2025.



                                              MATTHEW T. SCHELP
                                              UNITED STATES DISTRICT JUDGE




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